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                       EXHIBIT 14
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1[c] monitoring a volume of data used         T-Mobile provides a network switch that monitors high-speed data volume usage over the
by the user over the network regardless       network regardless of which device is used to access the network switches.
of which of a plurality of devices the
user uses to access the at least one of the
plurality of network switches;




                                              Source: https://www.t-mobile.com/support/account/check-your-usage




                                              Source: https://prepaid.t-mobile.com/prepaid-plans

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1[d] controlling the communication of       T-Mobile permits communication over the network of high-speed data (user data) using
user data on the network by permitting      switches while the high-speed data volume is within the data volume allowance for the user.
said communication of user data through
the plurality of switches while the
volume of data used by the user is within
the data volume allowance for the user,
and;




                                            Source: https://prepaid.t-mobile.com/prepaid-plans




                                            Source: https://www.t-mobile.com/support/plans-features/mobile-internet-plans-for-hotspots




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1[e] preventing said communication of     T-Mobile prevents the communication of high-speed data (user data) when the high-speed
user data if the volume of data used by   data volume exceeds the high-speed data volume allowance for the user.
the user reaches or exceeds the data
volume allowance for the user.




                                          Source: https://prepaid.t-mobile.com/prepaid-plans




                                          Source: https://www.t-mobile.com/support/plans-features/mobile-internet-plans-for-hotspots



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